Case 2:20-cv-11181-CAS-JPR Document 13 Filed 01/06/21 Page 1 of 2 Page ID #:155

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  NEMAN BROTHERS AND ASSOC., INC.                                    2:20−cv−11181−CAS−JPR
                                                   Plaintiff(s),

           v.
  INTERFOCUS, INC., et al.
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




  PLEASE TAKE NOTICE:

  The following problem(s) have been found with your electronically filed document:

  Date Filed:         1/5/2021
  Document Number(s):                 12
  Title of Document(s):              CERTIFICATION AND NOTICE OF INTERESTED
  PARTIES
  ERROR(S) WITH DOCUMENT:

  Incorrect event selected. Correct event to be used is: Civil Events − select − Other Filings − select − Notices −
  select − Certificate/Notice of Interested Parties




  Other:

  Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
  document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
  notice unless and until the Court directs you to do so.


                                                          Clerk, U.S. District Court

  Dated: January 6, 2021                                  By: /s/ Sharon Hall−Brown 213−894−3651
                                                             Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge



   G−112A(05/19) NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
Case 2:20-cv-11181-CAS-JPR               Document 13 Filed 01/06/21 Page 2 of 2 Page ID #:156
     Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




    G−112A(05/19) NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
